                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

RICHARD MITCHELL,                             )
                                              )
                       Plaintiff,             )
                                              )      Case No. 4:23-CV-00138-GAF
v.                                            )
                                              )
THE DIEZ GROUP, LLC d/b/a DIEZ                )
GROUP, et al.,                                )
                                              )
                       Defendants.            )

                              JOINT RESPONSE TO ORDER TO
                                  SHOW CAUSE (DOC. 17)

       In compliance with this Court’s July 5, 2023 Show Cause Order, counsel for Plaintiff

Richard Mitchell (“Plaintiff”) and counsel for Defendants The Diez Group, LLC d/b/a Diez Group

and The Diez Group Kansas City LLC d/b/a Delaco Steel Kansas City (collectively “Defendants”)

jointly submit the following response regarding the unintentional delay in submitting their Joint

Proposed Scheduling Order and Discovery Plan:

       1.       Plaintiff filed his Complaint on February 27, 2023. See Doc. 1. Pursuant to the

Waiver of Service of Summons executed by Defendants’ counsel, Defendants’ deadline to file a

responsive pleading was May 12, 2023. See Doc. 3.

       2.       On May 3, 2023, former counsel for Plaintiff, Lauren H. Beck, filed a Motion to

Withdraw her Entry of Appearance in connection with her departure from Cornerstone Law Firm.

See Doc. 9.

       3.       On May 12, 2023, Defendants timely filed their Answer. See Doc. 10.

       4.       On May 15, 2023, the Court issued a Rule 16 Notice setting a deadline of June 19,

2023 for the parties to conduct their Rule 26(f) conference, and a deadline of June 29, 2023 for the




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parties to file their proposed scheduling order and discovery plan. Doc. 11.

       5.       At the time the Court issued its Rule 16 Notice, former counsel for the Plaintiff

Lauren Beck had already left Cornerstone Law Firm, but due to an administrative oversight,

current counsel for Plaintiff, Katherine Paulus, had not yet entered her appearance in this matter.

       6.       After realizing she had not yet done so, on May 18, 2023, counsel Katherine Paulus

filed her Entry of Appearance in this matter. See Doc. 12. The Court granted Ms. Beck’s Motion

to Withdraw her Appearance the next day. See Doc. 13.

       7.       The parties held their Rule 26(f) conference by telephone on June 15, 2023.

Thereafter, in compliance with Local Rule 16.1(d), counsel for Plaintiff prepared the draft Joint

Proposed Scheduling Order and Discovery Plan and sent it to Defendants’ counsel to review the

next week.

       8.       Although the parties participated in the initial MAP teleconference scheduled with

MAP Director Laurel Stevenson for this matter on the morning of June 28, 2023, and exchanged

Initial Rule 26(a)(1) Disclosures on June 29, 2023, they inadvertently overlooked the deadline to

finalize and file the Joint Proposed Scheduling Order and Discovery Plan by June 29, 2023.

       9.       The parties apologize for their oversight and delay in submitting their Joint

Proposed Scheduling Order and Discovery Plan, which has now been filed with the Court. See

Doc. 18.

                                                     Respectfully Submitted,


                                                     CORNERSTONE LAW FIRM

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                                 -and-

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                                 ATTORNEYS FOR DEFENDANT




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 5, 2023, the foregoing was filed electronically using the court’s

electronic filing system which will send notice to all counsel of record in this case.

                                              /s/ M. Katherine Paulus
                                              COUNSEL FOR PLAINTIFF




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